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                                        UNITED STATES JUDICIAL PANEL
                                                     on
                                         MULTIDISTRICT LITIGATION



IN RE: GENERAL MOTORS LLC IGNITION
SWITCH LITIGATION                                                                           MDL No. 2543



                                             (SEE ATTACHED SCHEDULE)



                          CONDITIONAL TRANSFER ORDER (CTO -121)



On June 9, 2014, the Panel transferred 15 civil action(s) to the United States District Court for the
Southern District of New York for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 26 F.Supp.3d 1390 (J.P.M.L. 2014). Since that time, 243 additional action(s)
have been transferred to the Southern District of New York. With the consent of that court, all such
actions have been assigned to the Honorable Jesse M. Furman.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Southern District of New York and assigned to
Judge Furman.

Pursuant to Rule 7 .1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Southern District of New York for the reasons stated in the order of June 9, 2014, and, with the
consent of that court, assigned to the Honorable Jesse M. Furman.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Southern District of New York. The transmittal of this order to said Clerk shall
be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7-day period, the stay will be continued until further order of the Panel.



               Inasmuch as no objection is                  FOR THE PANEL:


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               pending at this time, the
               stay is lifted.


               I Dec 28, 2017 l
                    CLERK'S OFFICE                          Jeffery N. Luthi
                       UNITF.O STATES
                    JUDICIAL PANEL ON
                  MULTIDISTRICT LITIGATION
                                                            Clerk of the Panel




                                                                           A CERTIFIED COPY
                                                                         RUB"' J. KRAJICK, CLERK

                                                                  )3Yn.~/~
                                                                     '           Deputy. lerk
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IN RE: GENERAL MOTORS LLC IGNITION
SWITCH LITIGATION                                                      MDL No. 2543



                SCHEDULE CT0-121 -TAG-ALONG ACTIONS



                   C.A.NO.        CASE CAPTION


OREGON

  OR       6       17-01906       Trent v. General Motors LLC et al
